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B1 Official Form 1                    United State Bankruptcy Court                                                                Voluntary Petition
(12/07)                            SOUTHERN DISTRICT OF NEW YORK
Name of debtor (if individual, enter Last, First, Middle):                           Name of Joint Debtor (Spouse)(Last, First, Middle)
Pace Product Solutions, Inc.,                                                               ,
All Other Names used by the Debtor in the last 8 years                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names): N/A                                      (include married, maiden, and trade names):
Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more              Last four digits of Soc. Sec./Complete EIN or other Tax ID No.. (if more
than one, state all): XX-XXXXXXX                                                     than one, state all):
Street Address of Debtor (No. & Street, City, State, & Zip Code)                     Street Address of Joint Debtor (No. & St., City, State & Zip Code)
304 East 78th Street, Apt. 5F
New York, NY 10021
County of Residence or of the Principal Place of Business: New York                  County of Residence or of the Principal Place of Business:
Mailing Address of Debtor (if different from street address):                        Mailing Address of Joint Debtor (if different from street address):

Location of Principal Assets of Business Debtor (if different from street address above):
          Type of Debtor                           Nature of Business                       Chapter or Section of Bankruptcy Code Under Which
        (Form of Organization)                         (Check one box)                               the Petition is filed (Check one box)
           (Check one box)                     Health Care Business                      Chapter 7         Chapter 15 Petition for Recognition of a Foreign
    Individual(s)(Inc. joint debtors           Single Asset Real Estate as               Chapter 9               Main Proceeding
See Exhibit D on page 2 of this form.      defined in 11 U.S.C. 101 (51B)                Chapter 11        Chapter 15 Petition for Recognition of a Foreign
    Corporation (Inc. LLC, LLP)                Railroad                                  Chapter 12              Nonmain Proceeding
    Partnership                                Stockbroker                               Chapter 13
    Other: (If the debtor is not one           Commodity Broker
of the above entities, check this                                                                        Nature of Debts (Check one box)
                                               Clearing Bank
box and State type of entity below)
                                               Other                                     Debts are primarily Consumer debts, defined in 11 U.S.C. 101(8) as
                                                  Tax-Exempt Entity                  “incurred by an individual primarily for a personal, family or household
                                                  Check box, if applicable           purpose”
                                                Debtor is a tax-exempt                   Debts are primarily Business debts.
                                           organization under Title 26, U.S.C.,
                                           Internal Revenue Code
                           Filing Fee (Check one box)                                                            Chapter 11 Debtors
                                                                                     Check one box:
           Full Filing Fee attached                                                            Debtor is a small business as defined in 11 U.S.C. 101
           Filing Fee to be paid in installments (Applicable to individuals                    Debtor is Not a small business as defined in 11 U.S.C. 101
only) Must attach signed application for the court’s consideration                           ----------------------------------------
certifying that the debtor is unable to pay fee except in installments. Rule         Check if:
1006(e). See Official Form No. 3A.                                                             Debtor’s aggregate noncontingent liquidated debts owed to
           Filing Fee waiver requested (Applicable to Chapter 7                      noninsiders or affiliates are less than $2,190,000.
individuals only). Must attach signed application for the court’s                            ----------------------------------------
consideration. See Official Form 3B.                                                 Check all applicable boxes:
                                                                                               A plan is being filed with this petition.
                                                                                               Acceptances of the plan were solicited prepetition from one or
                                                                                     more classes of creditors, in accordance with 11 U.S.C. 1126(b)
Statistical/Administrative Information                                                                                                          THIS SPACE IS
                                                                                                                                                FOR COURT USE
     Debtor estimates that funds will be available for distribution to unsecured creditors.                                                     ONLY
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds
available for distribution to unsecured creditors.
Estimated Number of Creditors

1-49           49-99          100-199        200-999        1000-5000      5001-         10001-        25001-       50001-         Over
                                                                           10000         25000         50000        100000         100000
Estimated Assets

$0 -           $50,001 -      $100,001 -     $500,001 -     $1,000,001-    $10,000,001   $50,000,001   $100000001   $500000001     More than
$50,000        $100,000       $500,000       $1million      $10 million    $50 million   to $100       to $500      - $1 billion   $1 billion
                                                                                         million       million
Estimated Liabilities

$0 -           $50,001 -      $100,001 -     $500,001 -     $1,000,001-    $10,000,001   $50,000,001   $100000001   $500000001     More than
$50,000        $100,000       $500,000       $1million      $10 million    $50 million   to $100       to $500      - $1 billion   $1 billion
                                                                                         million       million
Form Published by: Law Disks, 734 Franklin Avenue, Garden City, NY 11530 www.lawdisks.com
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                                                                           Pg 2 of 9
Voluntary Petition                                                          Name of Debtor(s):                                  FORM B1, Page 2 (12/07)
(This page must be completed and filed in every case.)                      Pace Product Solutions, Inc.,
                          All Prior Bankruptcy Cases Filed Within the last 8 Years (if more than two, attach additional sheet.)
Location Where filed: N/A                                                   Case Number:                             Date Filed:
Location Where filed:                                                    Case Number:                              Date Filed:
             Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                          Case Number:                              Date Filed:
N/A
District:                                                                           Relationship:                                Judge:

                                  Exhibit A                                                                             Exhibit B
                                                                                                          (To be completed if Debtor is an individual
(To be completed if the Debtor is required to file periodic reports (e.g.,                                whose debts are primarily consumer debts.)
forms 10K and 10Q with the Securities and Exchange Commission                       I, the attorney for the petitioner named in the foregoing petition, declare that I have
pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934              informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
and is requesting relief under chapter 11)                                          of title 11, United States Code, and have explained the relief available under each
                                                                                    chapter. I further certify that I have delivered to the debtor the notice required by
                                                                                    §342 of the Bankruptcy Code.
    Exhibit A is attached and made a part of this petition.
                                                                                    X /S/ Daniel M. Katzner                                     07/10/2008
                                                                                    _______________________________________________________
                                                                                    Daniel M. Katzner, Esq., Attorney for Debtor(s)             Date
                                                                            Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
or safety?
     Yes, and Exhibit C is attached and made part of this petition.
     No
                                                                            Exhibit D
                 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D
     Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:
     Exhibit D completed and signed by the joint debtor is attached and made a part of this petition.
                                                      Information Regarding the Debtor - Venue
                                                                   (Check any applicable box)

            Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
            preceding the date of this petition or for a longer part of such 180 days than in any other District.
            There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
            Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
            has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court ] in
            this District, or the interests of the parties will be served in regard to the relief sought in this District.
                                 Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                    Check all applicable boxes.
     Landlord has a judgment against the debtor for possession of the debtor’s residence. (If box checked, complete the following.)
                                                                     _____________________________
                                                              (Name of landlord that obtained judgment)
                                                                     _____________________________
                                                              (Address of landlord)
     Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
     monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
     Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of
          the petition.
     Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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Voluntary Petition                                                                    Name of Debtor(s):                                   FORM B1, Page 3 (10/06)
(This page must be completed and filed in every case.)                                Pace Product Solutions, Inc.,
                                                                              Signatures
            Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of A Foreign Representative of a
I declare under penalty of perjury that the information provided in this                                       Recognized Foreign Proceeding
petition is true and correct. [If the petitioner is an individual whose debts are     I declare under penalty of perjury that the information provided in this
primarily consumer debts and has chosen to file under chapter 7] I am aware           petition is true and correct, that I am the foreign representative of a debtor in a
that I may proceed under chapter 7, 11, 12, or 13 of title 11, United States          foreign main proceeding, and that I am authorized to file this petition.
Code, understand the relief available under each such chapter, and choose to          (Check only one box)
proceed under chapter 11 .                                                                 I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer signs the               Code. Certified copies of the documents required by § 1515 of title 11 are
petition] I have obtained the read the notice required by § 342(b) of the                 attached.
Bankruptcy Code.
I request relief in accordance with the chapter of title 11, United States Code,           Pursuant to §1511 of title 11, United States Code, I request relief in
specified in this petition.                                                                accordance with the chapter of title 11 specified in this petition. A
                                                                                           certified copy of the order granting recognition of the foreign proceeding
                                                                                           is attached.
X /S/                                                                                 X
_______________________________________________________                                   _______________________________________________________
        , Debtor                                                                          (Signature of Foreign Representative)

X                                                                                         _______________________________________________________
_______________________________________________________                                   (Printed Name of Foreign Representative)
    , Joint Debtor
        ___________________                                                               _______________________________________________________
   Telephone Number (If not represented by attorney)                                      (Date)
        ___________________             Date

                          Signature of Attorney*                                                      Signature of Non-Attorney Petition Preparer
                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                      as defined in 11 U.S.C. § 110: (2) I prepared this document for compensation
X /S/ Daniel M. Katzner                                                               and have provided the debtor with a copy of this document and the notices and
_______________________________________________________                               information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and (3) if
   Signature of Attorney for Debtor(s)
   Print below: Attorney Name, Code, Firm, Address, Telephone No:                     rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a
    Daniel M. Katzner, Esq. Bar Number/Code: DK9689                                   maximum fee for services chargeable by bankruptcy petition preparers, I have
    The Law Offices of Daniel M. Katzner, P.C.                                        given the debtor notice of the maximum amount before preparing any document
    1025 Longwood Avenue                                                              for filing for a debtor or accepting any fee from the debtor, as required by that
    Bronx, New York 10459                                                             section. Official Form 19B is attached.
    (718) 589-3999                                                                    ___________________________________________
                                                                                      Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer
    07/10/2008___________________                                                     ___________________________________________
    Date                                                                              Social Security number (If the bankruptcy petition preparer is not an individual,
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         state the name, title (if any), address, and social security number of the officer,
certification that the attorney has no knowledge after an inquiry that the            principal, responsible person, or partner who signs this document.) (Required by
information in the schedules is incorrect.                                            11 U.S.C. § 110.)
  _______________________________________________________                             ___________________________________________
         Signature of Debtor (Corporation/Partnership)                                Address
I declare under penalty of perjury that the information provided in this              X_______________________________ __________
petition is true and correct, and that I have been authorized to file this petition   Signature of Bankruptcy Petition Preparer or officer, principal, responsible
on behalf of the debtor.                                                              person or partner whose social security number is provided above.

The debtor requests relief in accordance with the chapter of title 11, United         Names and Social Security numbers of all other individuals who prepared or
                                                                                      assisted in preparing this document, unless the bankruptcy petition preparer is
States Code, specified in this petition.
                                                                                      not an individual:
X /s/ Boaz Bagbag                                                                     ___________________________________________
  ___________________________________________________                                 If more than one person prepared this document, attach additional signed sheets
    Signature of Authorized Individual                                                conforming to the appropriate Official Form for each person.
X Boaz Bagbag                                                                         A bankruptcy petition preparer's failure to comply with the provisions of title 11
 ____________________________________________________                                 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                      imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
   Printed Name of Authorized Individual
                                                                                      [Publisher's Note: This form is NOT intended to be used by nonattorney
X President                                                                           bankruptcy-petition preparers: Schedules do not contain all disclosures
 ____________________________________________________                                 required for use by nonattorney bankruptcy-petition preparers.]
   Title of Authorized Individual
X 07/10/2008 ________ Date
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Form B1, Exhibit C (9/01)




                                  UNITED STATES BANKRUPTCY COURT
                                                       Southern District of New York


In re       Pace Product Solutions, Inc.        )                                    Case No:
                             Debtor(s)
                                                )
                                                                                     Chapter: 11
                                                )

                                                )




                                               Exhibit C to Voluntary Petition

    1.    Identify and briefly describe all real and personal property owned by or in possession of the debtor that, to the best of the debtor’s
          knowledge, poses or is alleged to pose a threat of imminent and identifiable harm to the public health or safety (attach additional
          sheets if necessary).

            NONE



    2.    With respect to each parcel of real property or item of personal property identified in question 1, describe the nature and location of
          the dangerous condition, whether environmental or otherwise, that poses or is alleged to pose a threat of imminent and identifiable
          harm to public health or safety (attach additional sheets if necessary).

            NONE
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B 201 (04/06)


                                  UNITED STATES BANKRUPTCY COURT
                       NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                     OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit counseling
services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and
(3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may
wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
cannot give you legal advice.

1. Services Available from Credit Counseling Agencies

      With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The briefing
may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be provided by a
nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the
bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

      In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

      Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
      1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a “means test” designed to determine whether the case should be permitted to proceed
under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases, creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide
whether the case should be dismissed.
      2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
      3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
      4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated from
alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
     1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
     their debts in instalments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
amounts set forth in the Bankruptcy Code.
     2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
     3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.
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    Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
    Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

      Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
      Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings and
is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

      A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                       Certificate of the Debtor(s)

I (We), the debtor(s), affirm that I (we) have received and read this notice.


     Boaz Bagbag_______                             _/s/ Boaz Bagbag__________________                   07/10/2008
Printed Name(s) of Debtor(s)                        Signature of Debtor                                  Date


Case No. (if known) _________                       ___________________________________
                                                    Signature of Joint Debtor (if any) Date

                                  Certificate of [Non-Attorney] Bankruptcy Petition Preparer (Omitted)
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                                UNITED STATES BANKRUPTCY COURT
                                                      Southern District of New York

In re:   Pace Product Solutions, Inc.
         Debtor(s)                                                                           Case No: _________

                                                                                             Chapter     _11________

                      LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
Following is the list of the debtor’s creditors holding the 20 largest unsecured claims. The list is prepared in accordance with Fed. R.
Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1) persons who come within the definition of
"insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of the collateral is such that the unsecured deficiency places
the creditor among the holders of the 20 largest unsecured claims.

               (1)                                   (2)                               (3)                      (4)                 (5)
      Name of Creditor and             Name, Telephone number and            Nature of Claim (trade          Indicate if         Amount
    Complete Mailing Address             complete mailing address,              debt, bank loan,               claim is        of Claim [if
       Including Zip Code                   including zip code, of           government contract,            contingent,       secured also
                                       employee, agent or department                  etc.)                 unliquidated,     state value of
                                                                                                             disputed or
                                       of creditor familiar with claim                                        subject to
                                                                                                                                 security]
                                           who may be contacted                                                 setoff
 1. Flash Sales, Inc.                  Flash Sales, Inc.                    Loan to purchase 2nd part        Disputed        $550,000
 1055 Franklin Avenue, Suite 206       Attn: Joseph M.                      of business
 Garden City, NY 11530                 1055 Franklin Avenue, Suite 206
                                       Garden City, NY 11530
                                       Telephone: (516) 741-8585
 2. B & N Realty Holding Corp.         B & N Realty Holding Corp.           Mortgage guarantee               Disputed        $550,000
 1055 Franklin Avenue, Suite 206       Attn: Joseph M.
 Garden City, NY 11530                 1055 Franklin Avenue, Suite 206
                                       Garden City, NY 11530
                                       Telephone: (516) 741-8585
 3. Summa Capital Corp.                Summa Capital Corp.                  Loan to purchase                 Disputed        $1,500,000
 Empire State Building                 Attn: Howard Schulder                inventory                                        (Security
 350 Fifth Avenue, Suite 7612          Empire State Building                                                                 interest in
 New York, NY 10118                    350 Fifth Avenue, Suite 7612                                                          inventory
                                       New York, NY 10118                                                                    valued at
                                       Telephone: (212) 244-1200                                                             $1,000,000)
 4. Chase                              Chase                                Bank loan to business            Disputed        $280,000
 800 Brooksedge Blvd                   Attn: Small Business Dept.
 Westerville, OH 43081                 800 Brooksedge Blvd
                                       Westerville, OH 43081
                                       Telephone: (800) 714-7408
 5. North Fork Bank d/b/a Capital      North Fork Bank d/b/a Capital        Bank loan to business            Disputed        $250,000
 One Bank                              One Bank
 201 St. Charles Ave, 16th Floor       Attn: Small Business Dept.
 New Orleans, LA 70130                 201 St. Charles Ave, 16th Floor
                                       New Orleans, LA 70130
                                       Telephone: 1-800-655-2265
 6. Pace Auto Parts, Inc.              Pace Auto Parts, Inc.                Loan to purchase 1st part        Disputed        $250,000
 10 Park Avenue, Suite 2A              Attn: Ms. Matta                      of corporation
 New York, NY 10016                    10 Park Avenue, Suite 2A
                                       New York, NY 10016
                                       Telephone: (212) 279-4550
 7. Robert Bosch, LLC                  Robert Bosch, LLC                    Trade debt                       Disputed        $162,000
 2800 South 25th Avenue                Attn: General Manager
 Broadview, IL 60155                   2800 South 25th Avenue
                                       Broadview, IL 60155
                                       Telephone: (708) 865-5200
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               (1)                                   (2)                               (3)                       (4)                (5)
      Name of Creditor and             Name, Telephone number and            Nature of Claim (trade         Indicate if          Amount
    Complete Mailing Address             complete mailing address,              debt, bank loan,              claim is         of Claim [if
       Including Zip Code                   including zip code, of           government contract,           contingent,        secured also
                                       employee, agent or department                  etc.)                unliquidated,      state value of
                                       of creditor familiar with claim                                      disputed or          security]
                                           who may be contacted                                              subject to
                                                                                                               setoff
 8. Honeywell, Inc.                    Honeywell, Inc.                      Trade debt                        Disputed       $372,000
 39 Old Ridgebury Road                 Attn: President
 Danbury, CT 06810                     39 Old Ridgebury Road
                                       Danbury, CT 06810
                                       Telephone: (203) 830-7800
 9. Davis Electronics                  Davis Electronics                    Trade debt                        Disputed       $40,000
 419 Park Avenue South, Ste 504        Attn: Jason Levine
 New York, NY 10010                    419 Park Avenue South, Ste 504
                                       New York, NY 10010
                                       Telephone: (212) 532-5881
 10. Harlington Realty                 Harlington Realty                    Trade debt                        Disputed       $32,000
 419 Park Avenue South, Ste 504        Attn: Jason Levine
 New York, NY 10010                    419 Park Avenue South, Ste 504
                                       New York, NY 10010
                                       Telephone: (212) 532-5881

 11. Universal Auto                    Universal Auto                       Trade debt                        Disputed       $20,000
 419 Park Avenue South, Ste 504        Attn: Jason Levine
 New York, NY 10010                    419 Park Avenue South, Ste 504
                                       New York, NY 10010
                                       Telephone: (212) 532-5881

 12. Rony Abudi                        Rony Abudi                           Trade debt                        Disputed       $160,000
 Attn: Bruce Lederman                  Attn: Bruce Lederman
 567 Broadway                          567 Broadway
 Massapequa, NY 11758                  Massapequa, NY 11758
                                       Telephone: (917) 295-1565
 13. Uzi Evron                         Uzi Evron                            Trade debt                        Disputed       Same as
 Attn: Bruce Lederman                  Attn: Bruce Lederman                                                                  above
 567 Broadway                          567 Broadway
 Massapequa, NY 11758                  Massapequa, NY 11758
                                       Telephone: (917) 295-1565
 14. Doron Kessel                      Doron Kessel                         Trade debt                        Disputed       Same as
 Attn: Bruce Lederman                  Attn: Bruce Lederman                                                                  above
 567 Broadway                          567 Broadway
 Massapequa, NY 11758                  Massapequa, NY 11758
                                       Telephone: (917) 295-1565
 15.
 16.
 17.
 18.
 19.
 20.

I declare under penalty of perjury that I have read the answers contained in the foregoing list of the creditors holding the 20 largest unsecured
claims and any attachments thereto and that they are true and correct.

Date:    07/10/2008                                              Signature of        /s/ Boaz Bagbag
                                                                 Debtor             /S/ Signature

                                                                                    Boaz Bagbag, President
                                                                                    Print Name and Title
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B6 Summary (Official Form 6 - Summary) (12/07)



                                                 UNITED STATES BANKRUPTCY COURT
                                                                       Southern District of New York

In re:     Pace Product Solutions, Inc.
           Debtor(s)                                                                                             Case No: ______

                                                                                                                 Chapter _11_____


           DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
                            [Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S.C. § 110(h)(2).]

             1. Under 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-
                named debtor(s) and that compensation paid to me within one year before the filing of the petition in
                bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s)
                in contemplation of our in connection with the bankruptcy case is as follows:

                  For legal services, I have agreed to accept..................................................................... $_200 per hour // $5,000 Retainer
                  Prior to the filing of this statement I have received... ..........................................................$_5,000.00 Retainer______
                  Balance Due... ......................................................................................................................$____0.00______

             2. The source of the compensation paid to me was:
                    Debtor                           Other (specify)

             3. The source of compensation to be paid to me is:
                      Debtor                          Other (specify)

             4. I have not agreed to share the above-disclosed compensation with any other person unless they
                   are members and associates of my law firm.

                       I have agreed to share the above-disclosed compensation with an other person or persons who are not
                       members or associates of my law firm. A copy of the agreement, together with a list of the names of
                       the people sharing in the compensation, is attached.

             5.        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                       a.         Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a
                                  petition in bankruptcy;
                       b.         Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                       c.         Representation of the debtor at the meeting of creditors, adversary proceedings, hearings, etc.
                       d.         All related and necessary work for Debtor’s Chapter 11 Proceeding;

             6.        By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                       a.      Representation of the debtor in any matter not related to the Chapter 11 Bankruptcy;        ;
                       b.      Representation of the debtor for any type of federal or state tax advice, opinion, negotiation, or any other
                               matters pertaining to the discharge of any tax under any state or federal law.

                                                                                  CERTIFICATION

             I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
             representation of the debtor(s) in this bankruptcy proceeding.

           Dated: 07/10/2008                                                                /s/ Daniel M. Katzner
                                                                                           /S/ Daniel M. Katzner
                                                                                           Attorneys for Debtor(s)
